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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        LUFKIN DIVISION

CLIFTON B. HENNINGTON                              §

VS.                                                §                 CIVIL ACTION NO. 9:20cv169

FREDRIC EDWARDS                                    §

                           MEMORANDUM OPINION AND ORDER

       Clifton B. Hennington, an inmate confined in the Beto Unit of the Texas Department of

Criminal Justice, Correctional Institutions Division, brings this civil rights action against Fredric
Edwards, a captain at the Beto Unit.

                                               Analysis

       The Civil Rights Act, 42 U.S.C. § 1981, et. seq., under which this case is brought, does not

contain a specific venue provision. Accordingly, venue is controlled by 28 U.S.C. § 1391. When,

as in this case, jurisdiction is not founded solely on diversity of citizenship, 28 U.S.C. § 1391

provides that venue is proper only in the judicial district where the defendants reside or in which the

claim arose.

       Plaintiff complains of events which occurred at the Beto Unit, which is located in Anderson

County. In addition, the defendant appears to reside in Anderson County. Plaintiff’s claims

concerning such events therefore arose in Anderson County. Pursuant to 28 U.S.C. § 124, Anderson

County is located in the Eastern District of Texas. As a result, venue regarding plaintiff’s claims is

proper in this court.

       However, while Anderson County is in the Eastern District of Texas, it is in the Tyler

Division, rather than the Lufkin Division. None of the events complained of in this lawsuit occurred

within the Lufkin Division. Nor does the defendant reside in the Lufkin Division.

       When a case is filed in the wrong division, the court “shall dismiss, or if it be in the interests

of justice, transfer such case to any district or division in which it could have been brought.” 28
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U.S.C. § 1406(a). Accordingly, plaintiff's claims will be transferred to the Tyler Division of this

court.

                                              ORDER

         For the reasons set forth above, it is ORDERED that this matter is transferred to the Tyler

Division of this court.

         SIGNED this 24th day of September, 2020.




                                                     _________________________
                                                     Zack Hawthorn
                                                     United States Magistrate Judge




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